      CASE 0:04-cr-00455-MJD-JSM         Doc. 223     Filed 05/13/05    Page 1 of 3




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
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United States of America,

                    Plaintiff,


vs.                                             ORDER
                                                Criminal No. 04-455 (MJD/JGL)

Armando Armendariz-Garcia,
a/k/a “Chulo” (01); Roberto Galaviz (03);
Armando Cavazos (04); Robert Brian
Cole, III (05); Chad Michael Boyce (06);
John Wade Arthurs (08); and Edgar Versa,
a/k/a “Shorty” (09),

               Defendants
__________________________________________________________________

Jeffery Paulsen, Esq., Assistant United States Attorney, for Plaintiff United States
of America.

Peter Wold, Esq., for Defendant Armando Armendariz-Garcia (01).
_________________________________________________________________

      The above-entitled matter comes before the Court upon the objections by

Defendant Armando Armendariz-Garcia to the Report and Recommendation of

United States Magistrate Judge Jonathan Lebedoff dated March 24, 2005.

Defendant Armendariz-Garcia filed timely objections to that Report and

Recommendation, specifically objecting to the recommended denial of his

Motions to Sever [Docket No. 158]; to Suppress Confessions or Statements in the


                                            1
      CASE 0:04-cr-00455-MJD-JSM        Doc. 223    Filed 05/13/05    Page 2 of 3




nature of Confessions [Docket No. 165]; to Suppress Search and Seizure of a

Storage Locker [Docket No. 168]; and to Dismiss Count 1 of the Indictment on the

basis that it is duplicitous [Docket No. 170]. The Report and Recommendation

recommended that each of these Motions, as well as other Motions filed by Mr.

Armendariz-Garcia and by other defendants in this matter, be denied. No other

objections, other than those noted above, have been filed.

      Pursuant to statute, the Court has conducted a de novo review of the

record of all of the grounds asserted by Defendant Armendariz-Garcia for

severance, for suppressing the evidence obtained in either his confessions or in the

search of his storage locker, and for dismissing Count 1. 28 U.S.C. § 636(b)(1);

Local Rule 72.1(c). Based on that review the Court ADOPTS the Report and

Recommendation dated March 24, 2005.

      IT IS HEREBY ORDERED that:

1.    Defendant Armando Armendariz-Garcia’s Motion to Sever [Docket No. 158]

      is DENIED.

2.    Defendant Armando Armendariz-Garcia’s Motion to Suppress Confessions

      or Statements in the Nature of Confessions [Docket No. 158] is DENIED.

3.    Defendant Armando Armendariz-Garcia’s Motion to Suppress Search and

      Seizure of Storage Locker #618 [Docket No. 168] is DENIED.

4.    Defendant Armando Armendariz-Garcia’s Motion to Dismiss Count 1 of the


                                           2
     CASE 0:04-cr-00455-MJD-JSM      Doc. 223    Filed 05/13/05     Page 3 of 3




     Indictment as duplicitous [Docket No. 170] is DENIED.

5.   All other motions addressed in the Report and Recommendation [Nos. 4

     and 6 through 15, Docket Nos. 169, 171, 83, 84, 85, 93, 95, 143, 106, 107,

     and 151] are DENIED.



Dated: May12, 2005

                                     s/ Michael J. Davis
                                     Michael J. Davis
                                     United States District Court




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